4:08-cr-03059-RGK-DLP        Doc # 55    Filed: 08/28/08   Page 1 of 4 - Page ID # 186




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                   )         4:08CR3059
                                            )
                    Plaintiff,              )         MEMORANDUM
      v.                                    )         AND ORDER
                                            )
JAYRO A. FLORES and                         )
JULIO FLORES-ELENES,                        )
                                            )
                    Defendants.             )



       This matter is before the court on a report and recommendation by Magistrate
Judge Piester, recommending (1) that the motion to suppress filed by the defendant
Julio Flores-Elenes (“Julio”) be denied and (2) that the motion to suppress filed by
the defendant Jayro A. Flores (“Jayro”) be granted. Julio has filed a statement of
objections, pursuant to NECrimR 57.3 and 28 U.S.C. § 636(b)(1), which challenges
Judge Piester’s conclusion that Julio knowingly and voluntarily consented to a
vehicle search. No statement of objections has been filed by the United States or by
Jayro. Upon de novo review of the record, I find and conclude that the report and
recommendation, excluding footnote 5, should be adopted.

      After reviewing the DVD of the traffic stop,1 I agree with Judge Piester that
while it was “abundantly clear from the recording that a reasonable officer would
have known from the outset of the conversation that Julio’s primary language was


      1
         Although Julio’s brief states that “the DVD of the stop ... was not specifically
marked and received into evidence as an exhibit” (filing 52, at CM/ECF p. 2), this is
incorrect. The DVD was offered and received as Exhibit 1. See filing 46 (exhibit
list); filing 50 (transcript), at 5:11-7:1. Defense counsel notified me of this
misstatement by email.
4:08-cr-03059-RGK-DLP       Doc # 55    Filed: 08/28/08   Page 2 of 4 - Page ID # 187



Spanish” (filing 48, at CM/ECF p. 9, n. 5), “the evidence does support a conclusion
that Julio, with great, labored effort, eventually understood at least most of what
Trooper Hazard said or asked.” (Filing 48, at CM/ECF p. 3, n. 2.) The recording
confirms that Julio “willingly answered the trooper’s questions about whether the
vehicle contained contraband, and he responded immediately and affirmatively to the
question, ‘Can I search you vehicle? Can I search your car?’” (Filing 48, at CM/ECF
p. 9.) This oral consent was knowing and voluntary.

      The evidence also establishes that Trooper Hazard, after obtaining Julio’s oral
consent to search the vehicle, read to him an English language consent-to-search
form, a copy of which is in evidence as Exhibit 4. Trooper Hazard testified that Julio
had the form “in front of him” (filing 50, at 57:14-15) and “appeared to be following
what I was reading with his eyes, paying attention to what I was doing and nodding
in a way that he understood is how I interpreted what he was doing.” (Filing 50, at
29:14-17.) The form concluded with a statement that “I’m giving this written
permission freely and voluntarily without any threats or promises being made to me
and understanding that I have the right to refuse to permit this search.” (Filing 50,
at 57:2-5.) When Trooper Hazard finished reading the form to Julio, he instructed
him to sign it if he understood and agreed. (Filing 50, at 57:5-6.) Julio did not ask
any questions about the consent-to-search form, but just “nodded his head yes and
signed it.” (Filing 50, at 58:21-24.)

       Judge Piester states in footnote 5 of his report that “absent the clear evidence
of the defendant’s verbal consent, there is inadequate evidence to establish that the
defendant’s written consent was knowing and voluntary.” (Filing 48, at CM/ECF p.
9, n.5 (emphasis in original).) He notes in this regard that Trooper Hazard read the
consent-to-search form quickly and did not inquire whether Julio understood difficult
words such as “voluntarily”, “authorize”, and “assistance” or whether he could read
English. Judge Piester therefore places no reliance on the signed form, but merely
states that “it did not abrogate the verbal consent given in this case[.]” (Id.)

                                          -2-
4:08-cr-03059-RGK-DLP        Doc # 55    Filed: 08/28/08   Page 3 of 4 - Page ID # 188



       The determinative issue in this case is not whether Julio actually understood
what he was signing, but, rather, whether Trooper Hazard reasonably believed that
Julio understood and was consenting to the search. “The government bears the
burden of proving voluntary consent by a preponderance of the evidence and must
show that on the totality of the circumstances the officer reasonably believed that the
search was consensual.” United States v. Almendares, 397 F.3d 653, 660 (8th Cir.
2005) (upholding consent finding even though subject did not speak English).
Trooper Hazard testified that Julio appeared to understand what was being read to
him, which included an express advisory that he had the right to refuse to permit the
search, and that Julio signed the form without hesitation. I find this testimony to be
credible and fully supported by the evidence, and conclude from the totality of the
circumstances that Trooper Hazard searched the vehicle in the objectively reasonable
belief that valid consent, both oral and written, had been obtained from Julio. See
United States v. Sanchez, 32 F.3d 1330, 1335 (8th Cir. 1994) (“If, considering the
totality of the circumstances, it was reasonable for [the officer] to have concluded that
[the defendant] voluntarily had consented to the search, the search passed muster
under the Fourth Amendment.”).

      Accordingly,

      IT IS ORDERED:

      1.     That the magistrate judge’s report and recommendation (filing 48),
             excluding footnote 5, is adopted.

      2.     That the defendant Julio Flores-Elenes’ motion to suppress (filing 28)
             is denied.

      3.     That the defendant Jayro A. Flores’ motion to suppress (filing 26) is
             granted, and any statements that said defendant made to Investigator

                                           -3-
4:08-cr-03059-RGK-DLP    Doc # 55   Filed: 08/28/08    Page 4 of 4 - Page ID # 189



          Shelton during an interview at the Kearney office of the Nebraska State
          Patrol on April 21, 2008, after giving his name and address, shall not be
          admissible in evidence.

    August 28, 2008.                        BY THE COURT:

                                            s/ Richard G. Kopf
                                            United States District Judge




                                      -4-
